






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-91-560-CR




RICHARD ROMANO,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT



NO. 97,919, HONORABLE BOB JONES, JUDGE


                       





PER CURIAM

	Appellant's untimely pro se motion for extension of time to file notice of appeal
is overruled.

	The appeal is dismissed.



[Before Chief Justice Carroll, Justices Aboussie and Kidd]

Dismissed

Filed:&nbsp; January 8, 1992

[Do Not Publish]


